       Case 2:15-cr-00234-JAM Document 155 Filed 11/13/17 Page 1 of 2


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 7

 8                             UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA                     Case No. 2:15 CR-00234 JAM
12            Plaintiff,
13                                                STIPULATION & ORDER TO VACATE
14         vs.                                    AND CONTINUE JUDGMENT AND
                                                  SENTENCING
15
     STEVEN MARCUS,
16

17         Defendant.

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19

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22         Plaintiff, United States of America, by and through its counsel, Assistant United

23   States Attorney Todd Pickles, Esq., and defendant Steven Marcus, by and through his
24
     attorney of record, Donald H. Heller, Esq, agree and stipulate to vacate the existing date
25
     for Judgment and Sentencing of November 28, 2017, and to continue Judgment and
26
     Sentencing to January 16, 2018, at 9:15 a.m. The reason for the continuance is to permit
27
     the parties to present additional information to the Court for sentencing purposes.
28
                                                 1
                                                              Case No. 2:15 CR-00234 JAM.
       Case 2:15-cr-00234-JAM Document 155 Filed 11/13/17 Page 2 of 2


 1          The parties to this stipulation request this Court to accept and adopt this
 2   stipulation.
 3
     Dated: November 13, 2017                  /s/ Donald H. Heller
 4
                                               DONALD H. HELLER
 5                                             Attorney for Defendant
 6                                             Steven Marcus

 7
                                               /s/ Todd Pickles by Donald Heller with
 8                                             authorization
 9                                             TODD PICKLES
10                                             Assistant U.S. Attorney
                                               Attorney for the Government
11

12
                                               ORDER
13

14
            Based on the representations and stipulation of Counsel, IT IS HEARBY
15
     ORDERED that:
16
            1.      The Judgment and Sentencing Hearing for defendant Steven Marcus on
17

18   November 28, 2017, is VACATED; and,

19          2.      Judgment and Sentencing for Steven Marcus is reset for January 16, 2018,

20   at 9:15 a.m. IT IS SO ORDERED.
21   Dated: November 13, 2017
22

23
                                                      /s/ JOHN A. MENDEZ
24                                                    HON. JOHN A. MENDEZ
                                                      United State District Court
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                                                  2
